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              Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                               Joint Claim Construction Chart
                                              EXHIBIT B: DISPUTED TERMS

        Claim Terms 1                        Plaintiff’s Proposed             Defendants’ Proposed
Ref.                                                                                                             Court’s Construction
                                             Construction                     Construction
    1   “individual color(s)”                A linear combination of          A linear combination of colors
                                             colors or color components,      or color components.
        1. A method for independently        such as red, green, blue,
        controlling hue or saturation of     yellow, cyan, and magenta.
        individual colors in a real time
        digital video image, comprising
        the steps of:
        (a) receiving and characterizing
        the real time digital video input
        image featuring input image
        pixels;
        (b) selecting to independently
        change the hue or the saturation
        of an individual color in the real
        time digital video input image, by
        selecting an independent color
        hue control delta value or an
        independent color saturation
        control delta value, respectively,
        wherein said independent color
        hue control delta value represents
        an extent of change in the hue of
        said selected individual color


1
 The asserted claims in this action are claims 1-6, 9-11, 13-15, 17, 21, and 30. Throughout this chart, the listing in this column
includes all claims – both asserted and not asserted – that include the disputed claim term, in case reference to such claims may assist
with construction.


                                                                   -1-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed         Defendants’ Proposed
Ref.                                                                                              Court’s Construction
                                              Construction                 Construction
       and wherein said independent
       color saturation control delta
       value represents an extent of
       change in the saturation of said
       selected individual color;
       (c) identifying a plurality of said
       input image pixels having said
       selected individual color in the
       real time digital video input
       image with the hue or the
       saturation selected to be
       independently changed, by
       performing arithmetic and logical
       operations using input image
       pixel values of each said input
       image pixel of the real time
       digital video input image;
       (d) determining corresponding
       output image pixel values for
       each of said plurality of said input
       image pixels identified as having
       said selected individual color in
       the real time digital video input
       image With the hue or the
       saturation selected to be
       independently changed, by
       separately evaluating independent
       color hue control functions or
       independent color saturation
       control functions, respectively,
                                                                     -2-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                         Plaintiff’s Proposed         Defendants’ Proposed
Ref.                                                                                              Court’s Construction
                                             Construction                 Construction
       using said input image pixel
       values of said plurality of said
       input image pixels, and using
       corresponding said selected
       independent color hue control
       delta value or said corresponding
       selected independent color
       saturation control delta value, for
       forming a corresponding plurality
       of output image pixels having
       said selected individual color
       With the hue or the saturation
       selected to be independently
       changed; and
       (e) displaying a real time digital
       video output image including said
       corresponding plurality of said
       output image pixels having said
       selected individual color with the
       hue or the saturation selected to
       be independently changed in the
       real time digital video input
       image, whereby the hue or the
       saturation of said selected
       individual color in the real time
       digital video input image has
       been changed without affecting
       the hue or the saturation of any
       other individual color in the real
       time digital video input image.
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                         Plaintiff’s Proposed         Defendants’ Proposed
Ref.                                                                                              Court’s Construction
                                             Construction                 Construction

       2. The method of claim 1,
       whereby the real time digital
       video input image is of a format
       selected from the group
       consisting of RGB format,
       YCrCb format, and, YUV format,
       whereby the individual colors of
       one said format can be
       characterized by the individual
       colors of a second said format by
       using appropriate linear
       transformations between said
       formats.


       10. The method of claim 1,
       whereby in step (b), said extent of
       change in the hue of said selected
       individual color is selected from
       the group consisting of a
       clockwise change and a
       counterclockwise change, of an
       angle of said selected individual
       color towards other individual
       colors characterized in a color
       space featuring a color based
       three dimensional coordinate
       system.

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              Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                               Joint Claim Construction Chart
                                              EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed         Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                 Construction
       11. The method of claim 1,
       whereby in step (b), said extent of
       change in the saturation of said
       selected individual color is
       selected from the group
       consisting of an increase and a
       decrease, of intensity of said
       individual color characterized in
       a color space featuring a color
       based three-dimensional
       coordinate system.

       13. The method of claim 1,
       whereby step (d) is performed
       following said identifying each
       said input image pixel, one at a
       time, of said plurality of said
       input image pixels, or, is
       performed following said
       identifying entire said plurality of
       said input image pixels, as having
       said individual color in the
       digital video input image whose
       hue or saturation was selected to
       be independently changed.




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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                        Plaintiff’s Proposed         Defendants’ Proposed
Ref.                                                                                              Court’s Construction
                                            Construction                 Construction
       14. The method of claim 1,
       whereby in step (d), for
       independently controlling the hue
       of said selected individual color
       in the real time digital video
       image, said independent color hue
       control function is a function of
       said input image pixel values of
       said plurality of said input image
       pixels and of said corresponding
       selected independent color hue
       control delta value.

       15. The method of claim 1,
       whereby in step (d), for
       independently controlling the
       saturation of said selected
       individual color in the real time
       digital video image, said
       independent color saturation
       control function is a function of
       said input image pixel values of
       said plurality of said input image
       pixels and of said corresponding
       selected independent color
       saturation control delta value.

       16. The method of claim 1,
       whereby step (e) is performed
       following said determining said
                                                                   -6-
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              Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                               Joint Claim Construction Chart
                                              EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed         Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                 Construction
       output image pixel values for
       each said input image pixel, one
       at a time, of said plurality of said
       input image pixels, or, is
       performed following said
       determining said output image
       pixel values for entire said
       plurality of said input image
       pixels, identified as having said
       individual color in the real time
       digital video input image Whose
       hue or saturation Was selected to
       be independently changed.

       17. A system for independently
       controlling hue or saturation of
       individual colors in a real time
       digital video image, comprising:
       (a) a real time digital video image
       display device displaying the real
       time digital video image featuring
       input image pixels;
       (b) a master control device in
       operative electronic
       communication with and
       controlling said real time digital
       video image display device; and
       (c) a viewer of said real time
       digital video image display device
       operating said master control
                                                                     -7-
                Case 6:19-cv-00059-RWS Document 94-2 Filed 05/20/20 Page 8 of 61 PageID #: 1142

             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed         Defendants’ Proposed
Ref.                                                                                              Court’s Construction
                                              Construction                 Construction
       device for selecting to
       independently change the hue or
       the saturation of an individual
       color in the real time digital video
       input image, by selecting an
       independent color hue control
       delta value or an independent
       color saturation control delta
       value featured on said master
       control device, respectively,
       wherein said independent color
       hue control delta value represents
       an extent of change in the hue of
       said selected individual color
       and wherein said independent
       color saturation control delta
       value represents an extent of
       change in the saturation of said
       selected individual color,
       whereby said real time digital
       video image display device in
       said operative electronic
       communication with said master
       control device per forms steps
       including:
       (i) identifying a plurality of said
       input image pixels having said
       selected individual color in the
       real time digital video input
       image With the hue or the
                                                                     -8-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed         Defendants’ Proposed
Ref.                                                                                              Court’s Construction
                                              Construction                 Construction
       saturation selected to be
       independently changed, by
       performing arithmetic and logical
       operations using input image
       pixel values of each said input
       image pixel of the real time
       digital video input image;
       (ii) determining corresponding
       output image pixel values for
       each of said plurality of said input
       image pixels identified as having
       said selected individual color in
       the real time digital video input
       image With the hue or the
       saturation selected to be
       independently changed, by
       separately evaluating independent
       color hue control functions or
       independent color saturation
       control functions, respectively,
       using said input image pixel
       values of said plurality of said
       input image pixels, and using
       corresponding said selected
       independent color hue control
       delta value or said corresponding
       selected independent color
       saturation control delta value, for
       forming a corresponding plurality
       of output image pixels having
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              Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                               Joint Claim Construction Chart
                                              EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       said selected individual color
       With the hue or the saturation
       selected to be independently
       changed; and
       (iii) displaying a real time digital
       video output image including said
       corresponding plurality of said
       output image pixels having said
       selected individual color With
       the hue or the saturation selected
       to be independently changed in
       the real time digital video input
       image, Whereby the hue or the
       saturation of said selected
       individual color in the real time
       digital video input image has
       been changed Without affecting
       the hue or the saturation of any
       other individual color in the real
       time digital video input image.

       18. The system of claim 17,
       whereby the real time digital
       video input image is of a format
       selected from the group
       consisting of RGB format,
       YCrCb format, and, YUV format,
       Whereby the individual colors of
       one said format can be
       characterized by the individual
                                                                     -10-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                        Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                              Court’s Construction
                                            Construction                  Construction
       colors of a second said format by
       using appropriate linear
       transformations between said
       formats.

       26. The system of claim 17,
       whereby said extent of change in
       the hue of said selected
       individual color is selected from
       the group consisting of a
       clockwise change and a
       counterclockwise change, of an
       angle of said selected individual
       color towards other individual
       colors characterized in a color
       space featuring a color based
       three-dimensional coordinate
       system.

       27. The system of claim 17,
       whereby said extent of change in
       the saturation of said selected
       individual color is selected from
       the group consisting of an
       increase and a decrease, of
       intensity of said individual color
       characterized in a color space
       featuring a color based three-
       dimensional coordinate system.

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              Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                               Joint Claim Construction Chart
                                              EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       29. The system of claim 17,
       whereby step (ii) is performed
       following said identifying each
       said input image pixel, one at a
       time, of said plurality of said
       input image pixels, or, is
       performed following said
       identifying entire said plurality of
       said input image pixels, as having
       said individual color in the
       digital video input image Whose
       hue or saturation Was selected to
       be independently changed.

       30. The system of claim 17,
       whereby in step (ii), for
       independently controlling the hue
       of said selected individual color
       in the real time digital video
       image, said independent color hue
       control function is a function of
       said input image pixel values of
       said plurality of said input image
       pixels and of said corresponding
       selected independent color hue
       control delta value.




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                                               Joint Claim Construction Chart
                                              EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       31. The system of claim 17,
       whereby in step (ii), for
       independently controlling the
       saturation of said selected
       individual color in the real time
       digital video image, said
       independent color saturation
       control function is a function of
       said input image pixel values of
       said plurality of said input image
       pixels and of said corresponding
       selected independent color
       saturation control delta value.

       32. The system of claim 17,
       whereby step (iii) is per formed
       following said determining said
       output image pixel values for
       each said input image pixel, one
       at a time, of said plurality of said
       input image pixels, or, is
       performed following said
       determining said output image
       pixel values for entire said
       plurality of said input image
       pixels, identified as having said
       individual color in the real time
       digital video input image Whose
       hue or saturation Was selected to
       be independently changed.
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               Case 6:19-cv-00059-RWS Document 94-2 Filed 05/20/20 Page 14 of 61 PageID #: 1148

             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed           Defendants’ Proposed
Ref.                                                                                                             Court’s Construction
                                              Construction                   Construction
       ’435 Patent, Claims 1, 2, 10, 11,
       13-18, 26, 27, and 29-32


 2     The combination or method              Not indefinite. Claim 17       Indefinite. A claim that “recites
       steps and system elements in a         contains permissible           both a system and a method for
       single system claim.                   functional limitations that    using that system” is invalid as
                                              describe the system by         indefinite. IPXL Holdings,
                                              reciting its capabilities.     L.L.C. v. Amazon.com, Inc., 430
       17. A system for independently         MasterMine Software, Inc. v.   F.3d 1377, 1384 (Fed.Cir.2005).
       controlling hue or saturation of       Microsoft Corp., 874 F.3d
       individual colors in a real time       1307, 1313 (Fed. Cir. 2017).
       digital video image, comprising:
       (a) a real time digital video image
       display device displaying the real
       time digital video image featuring
       input image pixels;
       (b) a master control device in
       operative electronic
       communication with and
       controlling said real time digital
       video image display device; and
       (c) a viewer of said real time
       digital video image display device
       operating said master control
       device for selecting to
       independently change the hue or
       the saturation of an individual
       color in the real time digital video
       input image, by selecting an
                                                                     -14-
               Case 6:19-cv-00059-RWS Document 94-2 Filed 05/20/20 Page 15 of 61 PageID #: 1149

             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                         Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                              Court’s Construction
                                             Construction                  Construction
       independent color hue control
       delta value or an independent
       color saturation control delta
       value featured on said master
       control device, respectively,
       wherein said independent color
       hue control delta value represents
       an extent of change in the hue of
       said selected individual color and
       wherein said independent color
       saturation control delta value
       represents an extent of change in
       the saturation of said selected
       individual color, whereby said
       real time digital video image
       display device in said operative
       electronic communication with
       said master control device
       performs steps including:
       (i) identifying a plurality of said
       input image pixels having said
       selected individual color in the
       real time digital video input
       image With the hue or the
       saturation selected to be
       independently changed, by
       performing arithmetic and logical
       operations using input image
       pixel values of each said input
       image pixel of the real time
                                                                    -15-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       digital video input image;
       (ii) determining corresponding
       output image pixel values for
       each of said plurality of said input
       image pixels identified as having
       said selected individual color in
       the real time digital video input
       image With the hue or the
       saturation selected to be
       independently changed, by
       separately evaluating independent
       color hue control functions or
       independent color saturation
       control functions, respectively,
       using said input image pixel
       values of said plurality of said
       input image pixels, and using
       corresponding said selected
       independent color hue control
       delta value or said corresponding
       selected independent color
       saturation control delta value, for
       forming a corresponding plurality
       of output image pixels having
       said selected individual color
       With the hue or the saturation
       selected to be independently
       changed; and
       (iii) displaying a real time digital
       video output image including said
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              Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                               Joint Claim Construction Chart
                                              EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                        Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                                        Court’s Construction
                                            Construction                  Construction
       corresponding plurality of said
       output image pixels having said
       selected individual color With the
       hue or the saturation selected to
       be independently changed in the
       real time digital video input
       image, Whereby the hue or the
       saturation of said selected
       individual color in the real time
       digital video input image has
       been changed Without affecting
       the hue or the saturation of any
       other individual color in the real
       time digital video input image.

       ’435 Patent, Claims 17
 3     “Input image pixel(s)”               Plain and ordinary meaning.   Image data including an integer
                                                                          row, an integer column, and
       1. A method for independently                                      color component values for
       controlling hue or saturation of                                   each of red, green, and blue.
       individual colors in a real time
       digital video image, comprising
       the steps of:
       (a) receiving and characterizing
       the real time digital video input
       image featuring input image
       pixels;
       (b) selecting to independently
       change the hue or the saturation
       of an individual color in the real
                                                                   -17-
               Case 6:19-cv-00059-RWS Document 94-2 Filed 05/20/20 Page 18 of 61 PageID #: 1152

             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                         Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                              Court’s Construction
                                             Construction                  Construction
       time digital video input image, by
       selecting an independent color
       hue control delta value or an
       independent color saturation
       control delta value, respectively,
       wherein said independent color
       hue control delta value represents
       an extent of change in the hue of
       said selected individual color and
       wherein said independent color
       saturation control delta value
       represents an extent of change in
       the saturation of said selected
       individual color;
       (c) identifying a plurality of said
       input image pixels having said
       selected individual color in the
       real time digital video input
       image with the hue or the
       saturation selected to be
       independently changed, by
       performing arithmetic and logical
       operations using input image
       pixel values of each said input
       image pixel of the real time
       digital video input image;
       (d) determining corresponding
       output image pixel values for
       each of said plurality of said
       input image pixels identified as
                                                                    -18-
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              Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                               Joint Claim Construction Chart
                                              EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       having said selected individual
       color in the real time digital video
       input image With the hue or the
       saturation selected to be
       independently changed, by
       separately evaluating independent
       color hue control functions or
       independent color saturation
       control functions, respectively,
       using said input image pixel
       values of said plurality of said
       input image pixels, and using
       corresponding said selected
       independent color hue control
       delta value or said corresponding
       selected independent color
       saturation control delta value, for
       forming a corresponding plurality
       of output image pixels having
       said selected individual color
       With the hue or the saturation
       selected to be independently
       changed; and
       (e) displaying a real time digital
       video output image including said
       corresponding plurality of said
       output image pixels having said
       selected individual color with the
       hue or the saturation selected to
       be independently changed in the
                                                                     -19-
               Case 6:19-cv-00059-RWS Document 94-2 Filed 05/20/20 Page 20 of 61 PageID #: 1154

             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                         Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                              Court’s Construction
                                             Construction                  Construction
       real time digital video input
       image, whereby the hue or the
       saturation of said selected
       individual color in the real time
       digital video input image has
       been changed without affecting
       the hue or the saturation of any
       other individual color in the real
       time digital video input image.

       10. The method of claim 1,
       whereby in step (b), said extent of
       change in the hue of said selected
       individual color is selected from
       the group consisting of a
       clockwise change and a
       counterclockwise change, of an
       angle of said selected individual
       color towards other individual
       colors characterized in a color
       space featuring a color based
       three dimensional coordinate
       system.

       13. The method of claim 1,
       whereby step (d) is performed
       following said identifying each
       said input image pixel, one at a
       time, of said plurality of said
       input image pixels, or, is
                                                                    -20-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       performed following said
       identifying entire said plurality of
       said input image pixels, as
       having said individual color in the
       digital video input image whose
       hue or saturation was selected to
       be independently changed.

       14. The method of claim 1,
       whereby in step (d), for
       independently controlling the hue
       of said selected individual color
       in the real time digital video
       image, said independent color hue
       control function is a function of
       said input image pixel values of
       said plurality of said input image
       pixels and of said corresponding
       selected independent color hue
       control delta value.

       15. The method of claim 1,
       whereby in step (d), for
       independently controlling the
       saturation of said selected
       individual color in the real time
       digital video image, said
       independent color saturation
       control function is a function of
       said input image pixel values of
                                                                     -21-
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              Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                               Joint Claim Construction Chart
                                              EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       said plurality of said input image
       pixels and of said corresponding
       selected independent color
       saturation control delta value.

       16. The method of claim 1,
       whereby step (e) is performed
       following said determining said
       output image pixel values for
       each said input image pixel, one
       at a time, of said plurality of said
       input image pixels, or, is
       performed following said
       determining said output image
       pixel values for entire said
       plurality of said input image
       pixels, identified as having said
       individual color in the real time
       digital video input image Whose
       hue or saturation Was selected to
       be independently changed.

       17. A system for independently
       controlling hue or saturation of
       individual colors in a real time
       digital video image, comprising:
       (a) a real time digital video image
       display device displaying the real
       time digital video image featuring
       input image pixels;
                                                                     -22-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       (b) a master control device in
       operative electronic
       communication with and
       controlling said real time digital
       video image display device; and
       (c) a viewer of said real time
       digital video image display device
       operating said master control
       device for selecting to
       independently change the hue or
       the saturation of an individual
       color in the real time digital video
       input image, by selecting an
       independent color hue control
       delta value or an independent
       color saturation control delta
       value featured on said master
       control device, respectively,
       wherein said independent color
       hue control delta value represents
       an extent of change in the hue of
       said selected individual color and
       wherein said independent color
       saturation control delta value
       represents an extent of change in
       the saturation of said selected
       individual color, whereby said
       real time digital video image
       display device in said operative
       electronic communication with
                                                                     -23-
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              Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                               Joint Claim Construction Chart
                                              EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       said master control device per
       forms steps including:
       (i) identifying a plurality of said
       input image pixels having said
       selected individual color in the
       real time digital video input
       image With the hue or the
       saturation selected to be
       independently changed, by
       performing arithmetic and logical
       operations using input image
       pixel values of each said input
       image pixel of the real time
       digital video input image;
       (ii) determining corresponding
       output image pixel values for
       each of said plurality of said
       input image pixels identified as
       having said selected individual
       color in the real time digital video
       input image With the hue or the
       saturation selected to be
       independently changed, by
       separately evaluating independent
       color hue control functions or
       independent color saturation
       control functions, respectively,
       using said input image pixel
       values of said plurality of said
       input image pixels, and using
                                                                     -24-
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              Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                               Joint Claim Construction Chart
                                              EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       corresponding said selected
       independent color hue control
       delta value or said corresponding
       selected independent color
       saturation control delta value, for
       forming a corresponding plurality
       of output image pixels having
       said selected individual color
       With the hue or the saturation
       selected to be independently
       changed; and
       (iii) displaying a real time digital
       video output image including said
       corresponding plurality of said
       output image pixels having said
       selected individual color With the
       hue or the saturation selected to
       be independently changed in the
       real time digital video input
       image, Whereby the hue or the
       saturation of said selected
       individual color in the real time
       digital video input image has
       been changed Without affecting
       the hue or the saturation of any
       other individual color in the real
       time digital video input image.



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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       29. The system of claim 17,
       whereby step (ii) is performed
       following said identifying each
       said input image pixel, one at a
       time, of said plurality of said
       input image pixels, or, is
       performed following said
       identifying entire said plurality of
       said input image pixels, as
       having said individual color in the
       digital video input image Whose
       hue or saturation Was selected to
       be independently changed.

       30. The system of claim 17,
       whereby in step (ii), for
       independently controlling the hue
       of said selected individual color
       in the real time digital video
       image, said independent color hue
       control function is a function of
       said input image pixel values of
       said plurality of said input image
       pixels and of said corresponding
       selected independent color hue
       control delta value.

       31. The system of claim 17,
       whereby in step (ii), for
       independently controlling the
                                                                     -26-
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              Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                               Joint Claim Construction Chart
                                              EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       saturation of said selected
       individual color in the real time
       digital video image, said
       independent color saturation
       control function is a function of
       said input image pixel values of
       said plurality of said input image
       pixels and of said corresponding
       selected independent color
       saturation control delta value.

       32. The system of claim 17,
       whereby step (iii) is per formed
       following said determining said
       output image pixel values for
       each said input image pixel, one
       at a time, of said plurality of said
       input image pixels, or, is
       performed following said
       determining said output image
       pixel values for entire said
       plurality of said input image
       pixels, identified as having said
       individual color in the real time
       digital video input image Whose
       hue or saturation Was selected to
       be independently changed.

       ’435 Patent, Claims 1, 13-17, and
       29-32
                                                                     -27-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed           Defendants’ Proposed
Ref.                                                                                                         Court’s Construction
                                              Construction                   Construction
 4     “Viewer”                               Graphic user interface (GUI)   Indefinite – illustrates that
                                              menu display, configured on    method steps are performed by
       17. A system for independently         a man-machine interaction      a human.
       controlling hue or saturation of       (MMI) mechanism
       individual colors in a real time
       digital video image, comprising:
       (a) a real time digital video image
       display device displaying the real
       time digital video image featuring
       input image pixels;
       (b) a master control device in
       operative electronic
       communication with and
       controlling said real time digital
       video image display device; and
       (c) a viewer of said real time
       digital video image display device
       operating said master control
       device for selecting to
       independently change the hue or
       the saturation of an individual
       color in the real time digital video
       input image, by selecting an
       independent color hue control
       delta value or an independent
       color saturation control delta
       value featured on said master
       control device, respectively,
       wherein said independent color
       hue control delta value represents
                                                                  -28-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       an extent of change in the hue of
       said selected individual color and
       wherein said independent color
       saturation control delta value
       represents an extent of change in
       the saturation of said selected
       individual color, whereby said
       real time digital video image
       display device in said operative
       electronic communication with
       said master control device per
       forms steps including:
       (i) identifying a plurality of said
       input image pixels having said
       selected individual color in the
       real time digital video input
       image With the hue or the
       saturation selected to be
       independently changed, by
       performing arithmetic and logical
       operations using input image
       pixel values of each said input
       image pixel of the real time
       digital video input image;
       (ii) determining corresponding
       output image pixel values for
       each of said plurality of said input
       image pixels identified as having
       said selected individual color in
       the real time digital video input
                                                                     -29-
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              Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                               Joint Claim Construction Chart
                                              EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       image With the hue or the
       saturation selected to be
       independently changed, by
       separately evaluating independent
       color hue control functions or
       independent color saturation
       control functions, respectively,
       using said input image pixel
       values of said plurality of said
       input image pixels, and using
       corresponding said selected
       independent color hue control
       delta value or said corresponding
       selected independent color
       saturation control delta value, for
       forming a corresponding plurality
       of output image pixels having
       said selected individual color
       With the hue or the saturation
       selected to be independently
       changed; and
       (iii) displaying a real time digital
       video output image including said
       corresponding plurality of said
       output image pixels having said
       selected individual color With the
       hue or the saturation selected to
       be independently changed in the
       real time digital video input
       image, Whereby the hue or the
                                                                     -30-
               Case 6:19-cv-00059-RWS Document 94-2 Filed 05/20/20 Page 31 of 61 PageID #: 1165

             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                        Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                                         Court’s Construction
                                            Construction                  Construction
       saturation of said selected
       individual color in the real time
       digital video input image has
       been changed Without affecting
       the hue or the saturation of any
       other individual color in the real
       time digital video input image.

       ’435 Patent, Claims 17



 5     “Characterizing”                     Not indefinite. Plain and     This term is indefinite under 35
                                            ordinary meaning.             U.S.C. § 112(2).
       1. A method for independently
       controlling hue or saturation of     Or, in the alternative:
       individual colors in a real time     Specifying.
       digital video image, comprising
       the steps of:
       (a) receiving and characterizing
       the real time digital video input
       image featuring input image
       pixels;
       (b) selecting to independently
       change the hue or the saturation
       of an individual color in the real
       time digital video input image, by
       selecting an independent color
       hue control delta value or an
       independent color saturation
                                                                   -31-
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                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       control delta value, respectively,
       wherein said independent color
       hue control delta value represents
       an extent of change in the hue of
       said selected individual color and
       wherein said independent color
       saturation control delta value
       represents an extent of change in
       the saturation of said selected
       individual color;
       (c) identifying a plurality of said
       input image pixels having said
       selected individual color in the
       real time digital video input
       image with the hue or the
       saturation selected to be
       independently changed, by
       performing arithmetic and logical
       operations using input image
       pixel values of each said input
       image pixel of the real time
       digital video input image;
       (d) determining corresponding
       output image pixel values for
       each of said plurality of said input
       image pixels identified as having
       said selected individual color in
       the real time digital video input
       image With the hue or the
       saturation selected to be
                                                                     -32-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                         Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                              Court’s Construction
                                             Construction                  Construction
       independently changed, by
       separately evaluating independent
       color hue control functions or
       independent color saturation
       control functions, respectively,
       using said input image pixel
       values of said plurality of said
       input image pixels, and using
       corresponding said selected
       independent color hue control
       delta value or said corresponding
       selected independent color
       saturation control delta value, for
       forming a corresponding plurality
       of output image pixels having
       said selected individual color
       With the hue or the saturation
       selected to be independently
       changed; and
       (e) displaying a real time digital
       video output image including said
       corresponding plurality of said
       output image pixels having said
       selected individual color with the
       hue or the saturation selected to
       be independently changed in the
       real time digital video input
       image, whereby the hue or the
       saturation of said selected
       individual color in the real time
                                                                    -33-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                        Plaintiff’s Proposed             Defendants’ Proposed
Ref.                                                                                                           Court’s Construction
                                            Construction                     Construction
       digital video input image has
       been changed without affecting
       the hue or the saturation of any
       other individual color in the real
       time digital video input image.

       ’435 Patent, Claim 1
 6     “Without affecting the hue or        Without affecting the hue or     Ordinary meaning.
       the saturation of any other          the saturation of any other      (incorporating the construction
       individual color”                    individual color, that was not   of “individual color,” that is
                                            selected to be changed           “without affecting the hue or
       1. A method for independently                                         the saturation of any other
       controlling hue or saturation of                                      linear combination of colors or
       individual colors in a real time                                      color components.”).
       digital video image, comprising
       the steps of:
       (a) receiving and characterizing
       the real time digital video input
       image featuring input image
       pixels;
       (b) selecting to independently
       change the hue or the saturation
       of an individual color in the real
       time digital video input image, by
       selecting an independent color
       hue control delta value or an
       independent color saturation
       control delta value, respectively,
       wherein said independent color
       hue control delta value represents
                                                                   -34-
               Case 6:19-cv-00059-RWS Document 94-2 Filed 05/20/20 Page 35 of 61 PageID #: 1169

             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       an extent of change in the hue of
       said selected individual color and
       wherein said independent color
       saturation control delta value
       represents an extent of change in
       the saturation of said selected
       individual color;
       (c) identifying a plurality of said
       input image pixels having said
       selected individual color in the
       real time digital video input
       image with the hue or the
       saturation selected to be
       independently changed, by
       performing arithmetic and logical
       operations using input image
       pixel values of each said input
       image pixel of the real time
       digital video input image;
       (d) determining corresponding
       output image pixel values for
       each of said plurality of said input
       image pixels identified as having
       said selected individual color in
       the real time digital video input
       image With the hue or the
       saturation selected to be
       independently changed, by
       separately evaluating independent
       color hue control functions or
                                                                     -35-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                         Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                              Court’s Construction
                                             Construction                  Construction
       independent color saturation
       control functions, respectively,
       using said input image pixel
       values of said plurality of said
       input image pixels, and using
       corresponding said selected
       independent color hue control
       delta value or said corresponding
       selected independent color
       saturation control delta value, for
       forming a corresponding plurality
       of output image pixels having
       said selected individual color
       With the hue or the saturation
       selected to be independently
       changed; and
       (e) displaying a real time digital
       video output image including said
       corresponding plurality of said
       output image pixels having said
       selected individual color with the
       hue or the saturation selected to
       be independently changed in the
       real time digital video input
       image, whereby the hue or the
       saturation of said selected
       individual color in the real time
       digital video input image has
       been changed without affecting
       the hue or the saturation of any
                                                                    -36-
               Case 6:19-cv-00059-RWS Document 94-2 Filed 05/20/20 Page 37 of 61 PageID #: 1171

             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       other individual color in the real
       time digital video input image.

       17. A system for independently
       controlling hue or saturation of
       individual colors in a real time
       digital video image, comprising:
       (a) a real time digital video image
       display device displaying the real
       time digital video image featuring
       input image pixels;
       (b) a master control device in
       operative electronic
       communication with and
       controlling said real time digital
       video image display device; and
       (c) a viewer of said real time
       digital video image display device
       operating said master control
       device for selecting to
       independently change the hue or
       the saturation of an individual
       color in the real time digital video
       input image, by selecting an
       independent color hue control
       delta value or an independent
       color saturation control delta
       value featured on said master
       control device, respectively,
       wherein said independent color
                                                                     -37-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       hue control delta value represents
       an extent of change in the hue of
       said selected individual color and
       wherein said independent color
       saturation control delta value
       represents an extent of change in
       the saturation of said selected
       individual color, whereby said
       real time digital video image
       display device in said operative
       electronic communication with
       said master control device per
       forms steps including:
       (i) identifying a plurality of said
       input image pixels having said
       selected individual color in the
       real time digital video input
       image With the hue or the
       saturation selected to be
       independently changed, by
       performing arithmetic and logical
       operations using input image
       pixel values of each said input
       image pixel of the real time
       digital video input image;
       (ii) determining corresponding
       output image pixel values for
       each of said plurality of said input
       image pixels identified as having
       said selected individual color in
                                                                     -38-
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                                               Joint Claim Construction Chart
                                              EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       the real time digital video input
       image With the hue or the
       saturation selected to be
       independently changed, by
       separately evaluating independent
       color hue control functions or
       independent color saturation
       control functions, respectively,
       using said input image pixel
       values of said plurality of said
       input image pixels, and using
       corresponding said selected
       independent color hue control
       delta value or said corresponding
       selected independent color
       saturation control delta value, for
       forming a corresponding plurality
       of output image pixels having
       said selected individual color
       With the hue or the saturation
       selected to be independently
       changed; and
       (iii) displaying a real time digital
       video output image including said
       corresponding plurality of said
       output image pixels having said
       selected individual color with the
       hue or the saturation selected to
       be independently changed in the
       real time digital video input
                                                                     -39-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                        Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                                         Court’s Construction
                                            Construction                  Construction
       image, whereby the hue or the
       saturation of said selected
       individual color in the real time
       digital video input image has
       been changed without affecting
       the hue or the saturation of any
       other individual color in the real
       time digital video input image.

       ‘435 Patent, Claims 1 & 17

 7     “Evaluated” and “Evaluating”         Not indefinite. Plain and     This term is indefinite under 35
                                            ordinary meaning.             U.S.C. § 112(2).
       1. A method for independently
       controlling hue or saturation of
       individual colors in a real time
       digital video image, comprising
       the steps of:
       (a) receiving and characterizing
       the real time digital video input
       image featuring input image
       pixels;
       (b) selecting to independently
       change the hue or the saturation
       of an individual color in the real
       time digital video input image, by
       selecting an independent color
       hue control delta value or an
       independent color saturation
       control delta value, respectively,
                                                                   -40-
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                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       wherein said independent color
       hue control delta value represents
       an extent of change in the hue of
       said selected individual color and
       wherein said independent color
       saturation control delta value
       represents an extent of change in
       the saturation of said selected
       individual color;
       (c) identifying a plurality of said
       input image pixels having said
       selected individual color in the
       real time digital video input
       image with the hue or the
       saturation selected to be
       independently changed, by
       performing arithmetic and logical
       operations using input image
       pixel values of each said input
       image pixel of the real time
       digital video input image;
       (d) determining corresponding
       output image pixel values for
       each of said plurality of said input
       image pixels identified as having
       said selected individual color in
       the real time digital video input
       image With the hue or the
       saturation selected to be
       independently changed, by
                                                                     -41-
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                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                        Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                              Court’s Construction
                                            Construction                  Construction
       separately evaluating
       independent color hue control
       functions or independent color
       saturation control functions,
       respectively, using said input
       image pixel values of said
       plurality of said input image
       pixels, and using corresponding
       said selected independent color
       hue control delta value or said
       corresponding selected
       independent color saturation
       control delta value, for forming a
       corresponding plurality of output
       image pixels having said selected
       individual color With the hue or
       the saturation selected to be
       independently changed; and
       (e) displaying a real time digital
       video output image including said
       corresponding plurality of said
       output image pixels having said
       selected individual color with the
       hue or the saturation selected to
       be independently changed in the
       real time digital video input
       image, whereby the hue or the
       saturation of said selected
       individual color in the real time
       digital video input image has
                                                                   -42-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                        Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                              Court’s Construction
                                            Construction                  Construction
       been changed without affecting
       the hue or the saturation of any
       other individual color in the real
       time digital video input image.

       3. The method of claim 1,
       whereby the real time digital
       video input image features basic
       colors red, green, and blue, and,
       complementary colors yellow,
       cyan, and magenta, in RGB color
       space, whereby values of said
       complementary colors are
       expressed in terms of and
       evaluated from linear
       combinations of values of said
       basic colors.

       4. The method of claim 1,
       whereby the real time digital
       video input image features basic
       colors yellow, cyan, and magenta,
       and, complementary colors red,
       green, and blue, in YCM color
       space, whereby values of said
       complementary colors are
       expressed in terms of and
       evaluated from linear
       combinations of values of said
       basic colors.
                                                                   -43-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction

       17. A system for independently
       controlling hue or saturation of
       individual colors in a real time
       digital video image, comprising:
       (a) a real time digital video image
       display device displaying the real
       time digital video image featuring
       input image pixels;
       (b) a master control device in
       operative electronic
       communication with and
       controlling said real time digital
       video image display device; and
       (c) a viewer of said real time
       digital video image display device
       operating said master control
       device for selecting to
       independently change the hue or
       the saturation of an individual
       color in the real time digital video
       input image, by selecting an
       independent color hue control
       delta value or an independent
       color saturation control delta
       value featured on said master
       control device, respectively,
       wherein said independent color
       hue control delta value represents
       an extent of change in the hue of
                                                                     -44-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       said selected individual color and
       wherein said independent color
       saturation control delta value
       represents an extent of change in
       the saturation of said selected
       individual color, whereby said
       real time digital video image
       display device in said operative
       electronic communication with
       said master control device per
       forms steps including:
       (i) identifying a plurality of said
       input image pixels having said
       selected individual color in the
       real time digital video input
       image With the hue or the
       saturation selected to be
       independently changed, by
       performing arithmetic and logical
       operations using input image
       pixel values of each said input
       image pixel of the real time
       digital video input image;
       (ii) determining corresponding
       output image pixel values for
       each of said plurality of said input
       image pixels identified as having
       said selected individual color in
       the real time digital video input
       image With the hue or the
                                                                     -45-
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              Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                               Joint Claim Construction Chart
                                              EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       saturation selected to be
       independently changed, by
       separately evaluating
       independent color hue control
       functions or independent color
       saturation control functions,
       respectively, using said input
       image pixel values of said
       plurality of said input image
       pixels, and using corresponding
       said selected independent color
       hue control delta value or said
       corresponding selected
       independent color saturation
       control delta value, for forming a
       corresponding plurality of output
       image pixels having said selected
       individual color With the hue or
       the saturation selected to be
       independently changed; and
       (iii) displaying a real time digital
       video output image including said
       corresponding plurality of said
       output image pixels having said
       selected individual color With the
       hue or the saturation selected to
       be independently changed in the
       real time digital video input
       image, Whereby the hue or the
       saturation of said selected
                                                                     -46-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                        Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                              Court’s Construction
                                            Construction                  Construction
       individual color in the real time
       digital video input image has
       been changed Without affecting
       the hue or the saturation of any
       other individual color in the real
       time digital video input image.

       19. The system of claim 17,
       whereby the real time digital
       video input image features basic
       colors red, green, and blue, and,
       complementary colors yellow,
       cyan, and magenta, in RGB color
       space, whereby values of said
       complementary colors are
       expressed in terms of and
       evaluated from linear
       combinations of values of said
       basic colors.

       20. The system of claim 17,
       whereby the real time digital
       video input image features basic
       colors yellow, cyan, and magenta,
       and, complementary colors red,
       green, and blue, in YCM color
       space, whereby values of said
       complementary colors are
       expressed in terms of and
       evaluated from linear
                                                                   -47-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                        Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                                       Court’s Construction
                                            Construction                  Construction
       combinations of values of said
       basic colors.

       ’435 Patent, Claims 1, 3, 4, 17,
       19, and 20

 8     “By performing arithmetic and        Not indefinite. Plain and     Indefinite as to whether this
       logical operations”                  ordinary meaning.             clause modifies “identifying,”
                                                                          “changed,” or both terms.
       1. A method for independently
       controlling hue or saturation of
       individual colors in a real time
       digital video image, comprising
       the steps of:
       (a) receiving and characterizing
       the real time digital video input
       image featuring input image
       pixels;
       (b) selecting to independently
       change the hue or the saturation
       of an individual color in the real
       time digital video input image, by
       selecting an independent color
       hue control delta value or an
       independent color saturation
       control delta value, respectively,
       wherein said independent color
       hue control delta value represents
       an extent of change in the hue of
       said selected individual color and
                                                                   -48-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       wherein said independent color
       saturation control delta value
       represents an extent of change in
       the saturation of said selected
       individual color;
       (c) identifying a plurality of said
       input image pixels having said
       selected individual color in the
       real time digital video input
       image with the hue or the
       saturation selected to be
       independently changed, by
       performing arithmetic and
       logical operations using input
       image pixel values of each said
       input image pixel of the real time
       digital video input image;
       (d) determining corresponding
       output image pixel values for
       each of said plurality of said input
       image pixels identified as having
       said selected individual color in
       the real time digital video input
       image With the hue or the
       saturation selected to be
       independently changed, by
       separately evaluating independent
       color hue control functions or
       independent color saturation
       control functions, respectively,
                                                                     -49-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                         Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                              Court’s Construction
                                             Construction                  Construction
       using said input image pixel
       values of said plurality of said
       input image pixels, and using
       corresponding said selected
       independent color hue control
       delta value or said corresponding
       selected independent color
       saturation control delta value, for
       forming a corresponding plurality
       of output image pixels having
       said selected individual color
       With the hue or the saturation
       selected to be independently
       changed; and
       (e) displaying a real time digital
       video output image including said
       corresponding plurality of said
       output image pixels having said
       selected individual color with the
       hue or the saturation selected to
       be independently changed in the
       real time digital video input
       image, whereby the hue or the
       saturation of said selected
       individual color in the real time
       digital video input image has
       been changed without affecting
       the hue or the saturation of any
       other individual color in the real
       time digital video input image.
                                                                    -50-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction

       17. A system for independently
       controlling hue or saturation of
       individual colors in a real time
       digital video image, comprising:
       (a) a real time digital video image
       display device displaying the real
       time digital video image featuring
       input image pixels;
       (b) a master control device in
       operative electronic
       communication with and
       controlling said real time digital
       video image display device; and
       (c) a viewer of said real time
       digital video image display device
       operating said master control
       device for selecting to
       independently change the hue or
       the saturation of an individual
       color in the real time digital video
       input image, by selecting an
       independent color hue control
       delta value or an independent
       color saturation control delta
       value featured on said master
       control device, respectively,
       wherein said independent color
       hue control delta value represents
       an extent of change in the hue of
                                                                     -51-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       said selected individual color and
       wherein said independent color
       saturation control delta value
       represents an extent of change in
       the saturation of said selected
       individual color, whereby said
       real time digital video image
       display device in said operative
       electronic communication with
       said master control device per
       forms steps including:
       (i) identifying a plurality of said
       input image pixels having said
       selected individual color in the
       real time digital video input
       image With the hue or the
       saturation selected to be
       independently changed, by
       performing arithmetic and
       logical operations using input
       image pixel values of each said
       input image pixel of the real time
       digital video input image;
       (ii) determining corresponding
       output image pixel values for
       each of said plurality of said input
       image pixels identified as having
       said selected individual color in
       the real time digital video input
       image With the hue or the
                                                                     -52-
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              Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                               Joint Claim Construction Chart
                                              EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       saturation selected to be
       independently changed, by
       separately evaluating independent
       color hue control functions or
       independent color saturation
       control functions, respectively,
       using said input image pixel
       values of said plurality of said
       input image pixels, and using
       corresponding said selected
       independent color hue control
       delta value or said corresponding
       selected independent color
       saturation control delta value, for
       forming a corresponding plurality
       of output image pixels having
       said selected individual color
       With the hue or the saturation
       selected to be independently
       changed; and
       (iii) displaying a real time digital
       video output image including said
       corresponding plurality of said
       output image pixels having said
       selected individual color With the
       hue or the saturation selected to
       be independently changed in the
       real time digital video input
       image, Whereby the hue or the
       saturation of said selected
                                                                     -53-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                        Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                                          Court’s Construction
                                            Construction                  Construction
       individual color in the real time
       digital video input image has
       been changed Without affecting
       the hue or the saturation of any
       other individual color in the real
       time digital video input image.

       ’435 Patent, Claims 1 & 17
 9     “Forming a corresponding             No construction necessary.    Forming a plurality of output
       plurality of output image pixels                                   image pixels that each
       having said selected individual                                    correspond to one of the
       color”                                                             plurality of input image pixels
                                                                          that have said selected
       1. A method for independently                                      individual color in the real time
       controlling hue or saturation of                                   digital video input image with
       individual colors in a real time                                   the hue or the saturation
       digital video image, comprising                                    selected to be independently
       the steps of:                                                      changed, the output image
       (a) receiving and characterizing                                   pixels having said selected
       the real time digital video input                                  individual color.
       image featuring input image
       pixels;
       (b) selecting to independently
       change the hue or the saturation
       of an individual color in the real
       time digital video input image, by
       selecting an independent color
       hue control delta value or an
       independent color saturation
       control delta value, respectively,
                                                                   -54-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       wherein said independent color
       hue control delta value represents
       an extent of change in the hue of
       said selected individual color and
       wherein said independent color
       saturation control delta value
       represents an extent of change in
       the saturation of said selected
       individual color;
       (c) identifying a plurality of said
       input image pixels having said
       selected individual color in the
       real time digital video input
       image with the hue or the
       saturation selected to be
       independently changed, by
       performing arithmetic and logical
       operations using input image
       pixel values of each said input
       image pixel of the real time
       digital video input image;
       (d) determining corresponding
       output image pixel values for
       each of said plurality of said input
       image pixels identified as having
       said selected individual color in
       the real time digital video input
       image With the hue or the
       saturation selected to be
       independently changed, by
                                                                     -55-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                         Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                              Court’s Construction
                                             Construction                  Construction
       separately evaluating independent
       color hue control functions or
       independent color saturation
       control functions, respectively,
       using said input image pixel
       values of said plurality of said
       input image pixels, and using
       corresponding said selected
       independent color hue control
       delta value or said corresponding
       selected independent color
       saturation control delta value, for
       forming a corresponding
       plurality of output image pixels
       having said selected individual
       color With the hue or the
       saturation selected to be
       independently changed; and
       (e) displaying a real time digital
       video output image including said
       corresponding plurality of said
       output image pixels having said
       selected individual color with the
       hue or the saturation selected to
       be independently changed in the
       real time digital video input
       image, whereby the hue or the
       saturation of said selected
       individual color in the real time
       digital video input image has
                                                                    -56-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       been changed without affecting
       the hue or the saturation of any
       other individual color in the real
       time digital video input image.

       17. A system for independently
       controlling hue or saturation of
       individual colors in a real time
       digital video image, comprising:
       (a) a real time digital video image
       display device displaying the real
       time digital video image featuring
       input image pixels;
       (b) a master control device in
       operative electronic
       communication with and
       controlling said real time digital
       video image display device; and
       (c) a viewer of said real time
       digital video image display device
       operating said master control
       device for selecting to
       independently change the hue or
       the saturation of an individual
       color in the real time digital video
       input image, by selecting an
       independent color hue control
       delta value or an independent
       color saturation control delta
       value featured on said master
                                                                     -57-
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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       control device, respectively,
       wherein said independent color
       hue control delta value represents
       an extent of change in the hue of
       said selected individual color and
       wherein said independent color
       saturation control delta value
       represents an extent of change in
       the saturation of said selected
       individual color, whereby said
       real time digital video image
       display device in said operative
       electronic communication with
       said master control device per
       forms steps including:
       (i) identifying a plurality of said
       input image pixels having said
       selected individual color in the
       real time digital video input
       image With the hue or the
       saturation selected to be
       independently changed, by
       performing arithmetic and logical
       operations using input image
       pixel values of each said input
       image pixel of the real time
       digital video input image;
       (ii) determining corresponding
       output image pixel values for
       each of said plurality of said input
                                                                     -58-
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              Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                               Joint Claim Construction Chart
                                              EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                          Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                               Court’s Construction
                                              Construction                  Construction
       image pixels identified as having
       said selected individual color in
       the real time digital video input
       image With the hue or the
       saturation selected to be
       independently changed, by
       separately evaluating independent
       color hue control functions or
       independent color saturation
       control functions, respectively,
       using said input image pixel
       values of said plurality of said
       input image pixels, and using
       corresponding said selected
       independent color hue control
       delta value or said corresponding
       selected independent color
       saturation control delta value, for
       forming a corresponding
       plurality of output image pixels
       having said selected individual
       color With the hue or the
       saturation selected to be
       independently changed; and
       (iii) displaying a real time digital
       video output image including said
       corresponding plurality of said
       output image pixels having said
       selected individual color With the
       hue or the saturation selected to
                                                                     -59-
               Case 6:19-cv-00059-RWS Document 94-2 Filed 05/20/20 Page 60 of 61 PageID #: 1194

             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                        Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                                    Court’s Construction
                                            Construction                  Construction
       be independently changed in the
       real time digital video input
       image, Whereby the hue or the
       saturation of said selected
       individual color in the real time
       digital video input image has
       been changed Without affecting
       the hue or the saturation of any
       other individual color in the real
       time digital video input image.

       ’435 Patent, Claims 1 & 17
 10    “Arbitrary interval of integers”     A range between two whole     Plain and ordinary meaning.
                                            numbers
       5. The method of claim 1,
       whereby in step (b), numerical
       range of said independent color
       hue control delta value and
       numerical range of said
       independent color saturation
       control delta value corresponds to
       an arbitrary interval of
       integers.

       21. The system of claim 17,
       whereby numerical range of said
       independent color hue control
       delta value and numerical range
       of said independent color
       saturation control delta value
                                                                   -60-
               Case 6:19-cv-00059-RWS Document 94-2 Filed 05/20/20 Page 61 of 61 PageID #: 1195

             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT B: DISPUTED TERMS

       Claim Terms 1                   Plaintiff’s Proposed          Defendants’ Proposed
Ref.                                                                                              Court’s Construction
                                       Construction                  Construction
       corresponds to an arbitrary
       interval of integers.

       ’435 Patent, Claims 5 & 21




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